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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


MARVEL CHARACTERS, INC.,
                                               Case No.: 1:21-cv-7955-LAK
       Plaintiff and Counterclaim-Defendant,   and consolidated cases
                                               21-cv-7957-LAK and 21-cv-7959-LAK
       v.

LAWRENCE D. LIEBER,                            Hon. Lewis A. Kaplan

       Defendant and Counterclaimant.

                                               DEFENDANT AND
MARVEL CHARACTERS, INC.,                       COUNTERCLAIMANT PATRICK S.
                                               DITKO’S NOTICE OF MOTION FOR
       Plaintiff and Counterclaim-Defendant,   SUMMARY JUDGMENT

       v.

KEITH A. DETTWILER, in his capacity as
Executor of the Estate of Donald L. Heck,

       Defendant and Counterclaimant.


MARVEL CHARACTERS, INC.,

       Plaintiff and Counterclaim-Defendant,

       v.

PATRICK S. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

       Defendant and Counterclaimant.
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       PLEASE TAKE NOTICE that, upon the attached Memorandum of Law in Support, the

Declarations of Marc Toberoff and exhibits thereto, and the Local Rule 56.1 Statement of Material

Facts, Defendant and Counterclaimant Patrick S. Ditko, as Administrator of the Estate of Stephen J.

Ditko the (“Estate”) hereby moves the Court, before the Honorable Lewis A. Kaplan, United States

District Judge, United States District Court for the Southern District of New York, at 500 Pearl

Street, New York, New York 10007, for an Order pursuant to Rule 56 of the Federal Rules of Civil

Procedure granting summary judgment in its favor as to the Counterclaim and Complaint in their

entirety, and for such other and further relief as this Court may deem just and proper.



Date: May 19, 2023                            By:            /s/ Marc Toberoff
                                                               Marc Toberoff

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